Case 1:22-cr-00176-CJN Documenti80 _ Filed 05/15/24

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,
v.

STEPHEN JOHNSON,
Defendant,

J.P. MORGAN CHASE BANK, N.A.

Garnishee.

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FILED

MAY 15 2024

Clerk, U.S. District and
Bankruptcy Courts é

Criminal No. 22-CR-176 (CJN)

APPLICATION FOR PREJUDGMENT WRIT OF GARNISHMENT

The United States of America applies, ex parte, under 28 U.S.C. §§ 1651, 3101, and 3104

of the Federal Debt Collection Procedures Act (FDCPA) for issuance of a prejudgment Writ of

Garnishment for substantial nonexempt property belonging to or due Stephen Adom Adeiye

Rattley Johnson (hereinafter referred to as “Mr. Johnson” or “Defendant”).' This is an action to

secure and preserve assets in which Defendant has a substantial nonexempt interest before entry

of a judgment in which mandatory restitution and forfeiture orders will be imposed. In support of

this application, the United States submits a Declaration of Federal Bureau of Investigation Special

Agent Kelly A. McLeod (Docket Doc. No. 172-1), pursuant to 28 U.S.C. § 3101(c), to establish

with particularity to the Court’s satisfaction facts supporting the probable validity of the claim for

“a debt and the right of the United States to recover what is demanded.

! Applications for FDCPA writs are necessarily submitted ex parte without notice to judgment
debtors and their insiders until after the process has been served on whomever is holding the
subject property to prevent the transfer or dissipation of non-exempt assets. Once the United
States certifies that process has been served, the ex parte restriction on this application and its
related filings may be lifted. Garnishment of co-owned property is subject to garnishment to the
same extent as it would be under the law of the State in which such property Is located. 28

U.S.C. §§ 3010; 3104.
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Factual Background

On April 17, 2024, a jury found Defendant guilty of five counts of Transportation of Child
Pornography, in violation of 18 U.S.C. § 2252(a)(1), (b)(1), and one count of Possession of Child
Pornography, in violation of 18 U.S.C. § 2252(a)(4)(B), (b)(2). (ECF No. 166). The Defendant is
pending sentencing and will face a mandatory restitution judgment and mandatory special
assessments. See 18 U.S.C. § 2259, 2259A, 3014.

Following the jury’s verdict, the Court allowed the Defendant to remain on pretrial release
for roughly 42 hours so that he could get his affairs in order before turning himself in to the U.S.
Marshals. The government has since learned that the Defendant used this time to attempt to
liquidate his brokerage and retirement accounts at J.P. Morgan and transfer the funds elsewhere.
See Exhibit 1 (Declaration of Special Agent Kelly A. McLeod (Docket Doc. No. 172-1)).

Early on Thursday, April 18, 2024—the morning after the verdict—the Defendant sent a
secure message? to his J.P. Morgan financial advisor that said, “Hi Gamal, I want to sell all stocks
in my retirement account and move the funds to my checking.” See id. { 2.a. n.1.

As detailed in her Declaration, Special Agent McLeod spoke with G.A., the Defendant’s
financial advisor. See id. § 2. G.A. found the Defendant’s request and the method of
correspondence to be unusual, and he followed up by calling the Defendant. See id. { 2.a.
According to G.A., the Defendant stated he was going out of the country, would not have access
to a computer or phone, and needed access to cash. See id. J 2.b. G.A. described the Defendant as
sounding calm but also thought he seemed in a rush to get access to money. See id, During the
same conversation, the Defendant indicated that he had liquidated his brokerage account and

wanted to move the funds into his checking account. See id. J 2.c. G.A. explained that the funds

2 The Defendant was prohibited from using internet-connected devices as a condition of release.

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required three days to clear and could not yet be moved. See id. In reviewing the account, he could
see that the Defendant had executed trades online into the early morning hours. See id. G.A. found
the Defendant's activity to be suspicious because it made little financial sense and would have
been against his advice: the Defendant had liquidated hundreds of thousands of dollars in equity
that is subject to capital gains tax. See id. { 2.d. The Defendant also stated that his wife would be
controlling his accounts in his absence, but he was also not interested in following through on
G.A.’s suggestion that he complete the appropriate power-of-attorney paperwork. See id. {| 2.e. Due to
the red flags raised by the Defendant’s behavior, G.A. conducted a Google search for the Defendant's
name and learned that, just one day earlier, the Defendant was convicted of federal child pornography
offenses. See id. § 2.f. G.A. then made an internal report. See id. § 2.f.

Bank records from J.P. Morgan show that before reporting to the U.S. Marshals, the Defendant

made a series of transactions that appear to be an attempt to dissipate funds:

PERSONAL CHECKING $218,448 transferred into account from
Robinhood (April 19)

e $2,388 transferred into the account from
Webull (trading platform) (April 22

e $472,262 transferred into the account
from a J.P. Morgan brokerage account
(April 26)

e $35,000 transferred into account from
business savings account (April 18)

e $200,000 transferred into account from
personal savings (April 3)

PERSONAL SAVINGS e Teller transaction of $100,000 to

Defendant’s wife (April 18)

e $200,000 transfer to personal checking
(April 3)

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BUSINESS SAVINGS ¢ $35,000 (entirety of account) transferred
to personal checking (April 18)

While there could be legitimate reasons for the Defendant to prepare his finances before self-
surrendering, these transactions raised several red flags. According to the financial advisor, the
Defendant seemed to be in a rush to get access to money, claiming that he was leaving the country.
The Defendant had no apparent concern for the significant tax consequences of his actions: he had just
liquidated a brokerage account containing nearly $500,000, for which he will owe significant capital
gains tax, and he sought to liquidate his retirement account, which will be subject to a tax penalty given
that the Defendant is only 36 years old. That same day, the Defendant transferred $100,000 to his wife.
And while the Defendant told his banker that his wife would be controlling the account in his absence,
he rejected the banker’s suggestion that he complete the power-of-attorney paperwork that would
empower her to do so.

On May 7, 2024, defense counsel informed the government by email that the Defendant’s J.P.
Morgan Chase accounts had been frozen. This appears to have been done on the bank’s own initiative;
the government is not aware how long the freeze will remain in effect.

The United States has an interest in ensuring that these funds are preserved pending sentencing
so that they are available to satisfy the substantial mandatory restitution and special assessments that
the Defendant faces in this case.

The Writ of Garnishment

Defendant’s last known address is: 600 H Street NE, Apt 749A, Washington, D.C. 20002,

and his social security number is ***-**-3494. To secure payment of the criminal monetary

obligations in this case, the United States requests that a Prejudgment Writ of Garnishment be

issued for service upon the following garnishee:

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National Subpoena Processing
J.P. Morgan Chase Bank, N.A.
Mail Code LA4-7300

700 Kansas Lane

Monroe, LA 71203.

Pursuant to 28 U.S.C. § 3101(d), the United States shall serve the Garnishee with a copy
of the Application, Writ of Garnishment, Clerk’s Notice of Garnishment, and answer Form with
instructions for compliance. After the Garnishee has been served, the United States shall serve the
Defendant and each person whom the United States has reasonable cause to believe has an interest
in the property subject to the Writ of Garnishment with those documents, and they shall be afforded
an opportunity for a hearing.

Discussion

The United States has met all requirements for the issuance of the prejudgment remedy
sought, pursuant to 28 U.S.C. §§ 3101 and 3104, and no bond is required of the United States.
Moreover, the FDCPA, which provides for enforcement of restitution as well as other debts owed
the United States, also authorizes the Court to use the All Writs Act, 28 U.S.C. § 1651, to support
any of the remedies set forth in the FDCPA. See 28 U.S.C. § 3202(a). This Court has the discretion
to order the requested relief pursuant to the All Writs Act, 28 U.S.C. § 1651, which provides that
“all courts established by Act of Congress may issue all writs necessary or appropriate in aid of
their respective jurisdictions and agreeable to the usages and principles of law.” See In re Baldwin-
United Corp., 770 F.2d 328, 338 (2d Cir. 1985) (“fa]n important feature of the All Writs Act is its
grant of authority to enjoin and bind non-parties to an action when needed to preserve the court’s
ability to reach or enforce its decision in a case over which it has proper jurisdiction”).

Indeed, the All Writs Act has been successfully used to preserve a Defendant’s assets after

conviction but before sentencing. Post-conviction, defendants “no longer are bathed with the
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presumption of innocence,” and the Court has the power to restrain assets where “sentencing and
a substantial Order of Restitution is imminent.” United States v. Numisgroup Int'l. Corp., 169 F.
Supp.2d 133, 138 (E.D.N.Y. 2001) (All Writs Act used to restrain 26,600 coins seized on search
warrant as collateral for restitution); see, e.g., United States v. Sullivan, 2010 WL 543724243, 1,
6-8 (E.D.N.C. Nov. 2010) (restraining defendant from disposing of assets after entry of guilty plea
but before sentencing hearing (citing United States v. Gates, 777 F. Supp. 1294, 1296 n.7 (E.D.Va.
1991) and United States v. Abdelhadi, 327 F. Supp. 2d 587 (E.D. Va. 2004) (noting that trial court
has authority to order a defendant awaiting sentencing not to dispose of assets as needed to protect
and effectuate sentencing and to ensure future availability of property to satisfy restitution orders);
United States v. Friedman, 143 F.3d 18, 19-20 (Ist Cir. 1998) (district court temporarily restrained
a defendant from transferring assets pursuant to the All Writs Act). See also United States v. Bank
of Am., 922 F. Supp. 2d 1, 5 (D.D.C. 2013), aff'd sub nom. United States v. Bank of Am. Corp.,
753 F.3d 1335 (D.C. Cir. 2014) (“Under the All Writs Act, the Court has authority to ‘issue all
writs necessary or appropriate in aid of [its] jurisdiction[ ].’ ”) (citing United States v. New York
Tel., 434 U.S. 159, 172 (1977) (the All Writs Act empowers courts to issue extraordinary writs as
necessary to effectuate and prevent the frustration of orders the court has issued)). Once
defendants are sentenced, various remedies are available to enforce collection of judgments under
federal and state law. But absent the prejudgment relief requested, the victims should not bear the
risk of nonpayment while defendants dissipate, transfer, or waste their interest in substantial
nonexempt assets while awaiting sentencing. In this case, the United States seeks a prejudgment
Writ of Garnishment after Defendant’s guilty verdict and prior to sentencing because it has become
aware of undisclosed assets in Defendant’s possession, and Defendant’s efforts to dispose of them

without paying his restitution.
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Enclosed for this Court’s signature is a Notice of Continuing Non-Wage Garnishment that
28 U.S.C. § 3101(d) obligates the Clerk to provide to the Defendant and the Garnishee. After the
Writ of Continuing Non-Wage Garnishment and the Notice are executed, these documents should

be returned to the undersigned for service on the Defendant and the Garnishee.

Dated: May 15, 2024
Respectfully submitted,

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